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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:05CR340
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
CARLOS ARTURO RAMIREZ,                        )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”). The parties

have not objected to the PSR. See "Order on Sentencing Schedule," ¶ 6. The Court

advises the parties that these tentative findings are issued with the understanding that,

pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the sentencing

guidelines are advisory.

       Although no objections have been filed, the Court notes the discrepancy between

the drug quantity envisioned in the plea agreement and the quantity in ¶ 30 of the PSR.

The discrepancy will be discussed at sentencing. Because no objections were filed, the

Court’s tentative findings are that the PSR is correct.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the PSR is correct in all respects;

       2.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel

and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the
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law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

      3.     Absent submission of the information required by paragraph 3 of this order,

my tentative findings may become final;

      4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 24th day of March, 2006.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                United States District Judge




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